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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

       v.                                    Civil Action No. 1:21-cv-00040 (CJN)

SIDNEY POWELL, et al.,

Defendants/Counter-Plaintiffs.



US DOMINION, INC., et al.,

               Plaintiffs,

       v.                                    Civil Action No. 1:21-cv-00213 (CJN)

RUDOLPH W. GIULIANI,

               Defendant.



US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

       v.                                    Civil Action No. 1:21-cv-00445 (CJN)

MY PILLOW, INC., et al.,

Defendants/ Counter- and Third- Party
Plaintiffs,

      v.

SMARTMATIC USA CORP., et al.,

Third-Party Defendants.
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                       AMENDED SCHEDULING ORDER

The following amended schedule shall govern discovery in all of the above-captioned cases:


1. Deadline to Serve Document Requests under Fed. R. Civ. P. 34: October 26, 2023

2. Deadline for Completion of Fact Discovery: May 30, 2024

3. Deadline for Proponents to Designate Expert Witnesses and Produce Expert Reports under

   Fed. R. Civ. P. 26(a)(2): June 27, 2024

4. Deadline for Opponents to Designate Expert Witnesses and Produce Expert Reports under

   Fed. R. Civ. P. 26(a)(2): July 31, 2024

5. Deadline for Proponents to Produce Responsive Expert Reports: August 29, 2024

6. Deadline for Expert Depositions: October 3, 2024

7. Status Conference: In-person on October 17, 2024 at 11:00am

8. Deadline to File Dispositive Motions: November 14, 2024

9. Deadline to File Oppositions to Dispositive Motions: December 19, 2024

10. Deadline to File Replies in Support of Dispositive Motions: January 30, 2025



   It is so ORDERED.

   DATE: July 24, 2023                              CARL J. NICHOLS
                                                    United States District Judge
